
45 So.3d 971 (2010)
MERCO GROUP AT AKOYA, INC., Appellant,
v.
GENERAL COMPUTER SERVICES, INC., Appellee.
No. 3D10-319.
District Court of Appeal of Florida, Third District.
October 13, 2010.
Billbrough &amp; Marks and Geoffrey B. Marks, Coral Gables, for appellant.
Alan P. Dagen, for appellee.
Before RAMIREZ, C.J., and GERSTEN and SALTER, JJ.
PER CURIAM.
Merco Group at Akoya, Inc. ("Merco") appeals an order denying a motion to set aside a final default judgment. We affirm *972 the default because there was no excusable neglect. See Fla. R. Civ. P. 1.540(b). However, we reverse for a new trial on damages. The damages were unliquidated and require a factual determination. See Bowman v. Kingsland Dev., Inc., 432 So.2d 660, 662 (Fla. 5th DCA 1983).
Affirmed in part and reversed in part.
